


IN THE MATTER MARRIAGE OF SOMMERFELDT



NO. 07-04-0318-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 19, 2004



______________________________




IN THE MATTER OF THE MARRIAGE OF 


LORRAINE SOMMERFELDT, M.D. AND MILUN PANOVICH


AND IN THE INTEREST OF MALINA PANOVICH AND TATIANA PANOVICH, CHILDREN

_________________________________



FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;



NO. 52,401-C; HONORABLE PATRICK PIRTLE, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and REAVIS, JJ. 

MEMORANDUM OPINION


	Appellant Milun Panovich perfected this appeal from the trial court's judgment of
March 12, 2004.  Pending before this Court is Panovich's motion to dismiss the appeal by
which he represents the parties have resolved all issues and he no longer desires to
appeal.  Without passing on the merits of the case we grant the motion and dismiss the
appeal. (1)

	Accordingly, the appeal is dismissed.

						Don H. Reavis

						    Justice

1. Panovich requests relief under Rule 42.1(a)(2) of the Texas Rules of Appellate
Procedure; however, he does not specify what subsection of 42.1(a)(2) he wishes the
Court to follow.  Thus, based on the substance of appellant's motion, we dismiss the
appeal pursuant to Rule 42.1(a)(1).  Therefore, without a request from the parties our
mandate will issue in due course.


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}





NO. 07-08-0275-CR; 07-08-0276-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

FEBRUARY 26, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;______________________________

TERRY LEE JOBE, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;

NO. 43,912-C, 43,913-C; HONORABLE ANA ESTEVEZ, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Terry Lee Jobe, appeals his adjudications of guilt and subsequent
sentences in each of the above referenced cases.  In Cause No. 07-08-00275-CR,
appellant entered a plea of guilty to two counts of indecency with a child and was placed
on deferred adjudication community supervision for a period of eight years for each count. 
In Cause No. 07-08-00276-CR, appellant entered a plea of guilty to the offense of
aggravated sexual assault of a child and was placed on deferred adjudication community
supervision for a period of eight years.  The guilty pleas were the result of a plea bargain
and were accepted by the court on October 1, 2007.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 19, 2008, the State filed a motion to proceed with adjudication on both
cases.  Subsequently, on May 23, 2008, the State filed amended motions to proceed with
adjudication.  A hearing on both motions to proceed with adjudication was held on June
6, 2008.  Appellant entered a plea of true to the allegations contained in both of the
motions to proceed.  The trial court found the allegations true and found appellant guilty
of both counts of indecency with a child and of aggravated sexual assault of a child.  After
conducting a hearing on punishment, the trial court sentenced appellant to confinement in
the Institutional Division of the Texas Department of Criminal Justice (ID-TDCJ) for 20
years on each count in Cause No. 07-08-00275-CR, with the terms of confinement for each
count to be served concurrently.  In Cause No. 07-08-00276-CR, the trial court sentenced
appellant to 99 years confinement in the ID-TDCJ.   The trial court ordered that the
sentences in Cause No. 07-08-00275-CR be served consecutively to the sentence
imposed in Cause No. 07-08-00276-CR.   Appellant gave notice of appeal and this appeal
followed.  We affirm the judgments and grant appellant’s counsel’s motions to withdraw.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s attorney has filed an Anders brief and a motion to withdraw in each of
the cases.  See Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967). 
In support of her motions to withdraw, counsel certifies that she has diligently reviewed the
record and, in her opinion, the record reflects no reversible error upon which an appeal can
be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813
(Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling
authorities, there is no error in the trial court’s judgment.  Additionally, counsel has certified
that she has provided appellant a copy of the Anders brief and motion to withdraw and
appropriately advised appellant of his right to file a pro se response in these matters.  See 
Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The court has also advised
appellant of his right to file a pro se response.  Subsequent to the court advising appellant
of his right to file a pro se response, appellant requested an extension of time to file that
response.  Appellant’s motion for an extension of time to file a response was granted,
making his response due on December 15, 2008.  However, appellant has not filed a
response.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By her Anders brief, counsel raises grounds that could possibly support an appeal,
but concludes the appeal is frivolous.  We have reviewed these grounds and made an
independent review of the entire record to determine whether there are any arguable
grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346,
102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We
have found no such arguable grounds and agree with counsel that the appeal is frivolous.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s
judgment is affirmed.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Do not publish.      


